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                             UNITED STATES DISTRICT COURT
                             WESTERN DISTRICT OF KENTUCKY
                                 OWENSBORO DIVISION

LANNIE FENTRESS
and DARON FENTRESS                                                                          Plaintiffs

v.                                                                 Case No. 4:24-cv-124-RGJ-HBB

CITY OF LEITCHFIELD, et al.                                                               Defendants

                                             * * * * *

                            MEMORANDUM OPINION & ORDER

       Defendants City of Leitchfield and the City of Leitchfield Police Department (together

“Leitchfield”), Brian Jennings, and Tamara Jupin move for partial dismissal of Plaintiffs’

complaint. [DE 17]. Plaintiffs Lannie Fentress and Daron Fentress (the “Fentresses”) responded.

[DE 21]. Leitchfield, Jennings, and Jupin replied. [DE 23]. No other defendants have responded

to the motion in the time permitted.1 See LR 7.1(c). For the following reasons, the motion for

partial dismissal [DE 17] is GRANTED. Additionally, the parties shall refrain from

inappropriately filing discovery papers and electronically available legal authorities going forward.

See Fed. R. Civ. P. 5(d)(1)(A) (“[D]isclosures under Rule 26(a)(1) or (2) and the

following discovery requests and responses must not be filed until they are used in the proceeding

or the court orders filing: depositions, interrogatories, requests for documents or tangible things or

to permit entry onto land, and requests for admission.”); LR 7.1(h).

                                        I. BACKGROUND

       This case arises from an altercation between the Fentresses, who are father and son, and

several law enforcement officers. Leitchfield is the county seat of defendant Grayson County,



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 Defendants Dennis Newton, Justin Cockerel, Grayson County, Grayson County Sheriff Department and
Thomas Lane did not respond but have answered the complaint. [DE 15; DE 19].
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Kentucky (“Grayson County”). [See DE 1 at 4]. Defendants Newton, Cockerel, Jennings, and

Jupin were Leitchfield police officers at all relevant times. [Id. at 4–5]. Defendant Thomas Lane

was a deputy sheriff with defendant Grayson County Sheriff Department (the “Sheriff’s Office”).

[Id. at 5]. The Fentresses allege that Grayson County controls the Sheriff’s Office. [Id.].

       According to the complaint, on or about June 9, 2024, the Fentresses were at home “when

they heard a loud noise, like an explosion,” and smelled smoke. [Id. at 6]. There was a fire in the

basement. [Id.]. Lannie instructed his wife to call 911, then retrieved a garden hose. [Id.]. Both

Lannie and Daron began attempting to extinguish the fire. [Id.]. Officers including Jennings, Jupin,

Newton, Cockerel, and Lane responded to the scene. [Id. at 6–7]. Lannie exited the home and

stated that a battery had exploded. [Id. at 6]. The Leitchfield officers had fire extinguishers with

them but did not attempt to extinguish the fire. [Id.]. When Lannie attempted to reenter the home

and continue combatting the fire, Newton grabbed his arm, threatened to arrest him, and threatened

to hit Daron with a fire extinguisher. [Id. at 6–7]. Newton and Cockerel tased both of the

Fentresses, beat Lannie, and restrained him. [Id. at 7]. Lane tased Lannie as well. [Id.].

       Ultimately, both of the Fentresses were handcuffed and arrested. [Id.]. They posted bond

and were released. [Id.]. Later, a grand jury returned no true bill for Lannie, and the charges against

him were dismissed. [Id. at 7–8]. Newton was charged for his role in the altercation, and the grand

jury returned a misdemeanor indictment against him. [Id. at 7].

       The Fentresses claim they “never . . . posed a threat to anyone in the vicinity of the

incident” and that officers “never had a justifiable legal basis to detain . . . or remove them from

the property.” [Id. at 7]. More broadly, they allege that Leitchfield and the Sheriff’s Office failed

to adequately train their respective police officers and deputy sheriffs regarding the use of force

“when a suspect is posing no threat,” resulting in a “pattern” of unreasonable force. [Id. at 8]. They




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further allege that Leitchfield and the Sheriff’s Office “have acted with deliberate indifference”

towards that pattern. [Id. at 8–9].

        The complaint asserts 10 causes of action: federal rights violations under 42 U.S.C. § 1983;

assault and battery; negligence; false arrest and imprisonment; malicious prosecution; abuse of

process; two counts of professional malfeasance; and two counts of negligent hiring, retention,

supervision, and training. [Id. at 9–16]. The Section 1983 claim invokes both the Fourth

Amendment and the Eighth Amendment. [Id. at 9–10]. The final two counts are pleaded against

Leitchfield and Grayson County and the Sheriff’s Office, respectively. [Id. at 15–16]. All other

claims are pleaded “against all defendants (in all capacities).” [Id. at 9–15]. The complaint seeks

both compensatory and punitive damages. [Id. at 16].

        Grayson County, the Sheriff’s Office, and Lane have answered the complaint. [DE 15]. So

have Newton and Cockerel. [DE 19]. All parties have participated in a Rule 26(f) scheduling

conference and commenced discovery.2 [DE 22]. The Magistrate Judge has generally stayed

discovery requests directed to Newton in light of his criminal charges. [DE 28].

                                             II. STANDARD

        In order “to state a claim upon which relief can be granted,” Fed. R. Civ. P. 12(b)(6), a

complaint must state a claim “that is plausible on its face.” Bell Atl. Corp. v. Twombly, 550 U.S.

544, 570 (2007). “A claim has facial plausibility when the plaintiff pleads factual content that

allows the court to draw the reasonable inference that the defendant is liable for the misconduct

alleged.” Ashcroft v. Iqbal, 556 U.S. 662, 678 (2009). The Court must “construe the complaint in

the light most favorable to the plaintiff, accept its allegations as true, and draw all reasonable


2
 Some parties have inappropriately filed discovery materials in the record. [DE 32; DE 35; DE 39; DE 40].
Initial disclosures and other discovery papers “must not be filed until they are used in the proceeding or the
court orders filing.” Fed. R. Civ. P. 5(d)(1)(A). This includes notices of service and deposition notices. LR
26.1(b); see also Fed. R. Civ. P. 5(d) advisory committee’s note to 2000 amendment.


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inferences in favor of the plaintiff.” Royal Truck & Trailer Sales & Serv., Inc. v. Kraft, 974 F.3d

756, 758 (6th Cir. 2020) (quotation marks omitted). However, factual allegations must be more

than “speculative,” and “conclusory allegations or legal conclusions” will not suffice. United

States ex rel. Harper v. Muskingum Watershed Conservancy Dist., 842 F.3d 430, 435 (6th Cir.

2016) (quotation marks omitted). It is the defendant’s burden to show that the complaint fails to

state a plausible claim for relief. In re Ford Motor Co. F-150 & Ranger Truck Fuel Econ. Mktg.

& Sales Pracs. Litig., 65 F.4th 851, 859 (6th Cir. 2023).

                                         III. ANALYSIS

       Leitchfield, Jennings, and Jupin present four arguments for dismissing various aspects of

the Fentresses’ complaint. Three of their arguments are unopposed.

   A. Unopposed Arguments

       The movants argue that the Leitchfield Police Department is “not a distinct entity that is

subject to suit”; that the official-capacity claims against Jennings and Jupin are “duplicative” of

the claims against Leitchfield itself; and that the complaint’s allegations do not implicate the

Fentresses’ Eighth Amendment rights. [DE 17 at 79–81]. The Fentresses’ response does not

address these points. [See DE 21].

       Each of these arguments is well-taken. First, a local police department is merely part of the

local government, “not an entity which may be sued.” Matthews v. Jones, 35 F.3d 1046, 1049 (6th

Cir. 1994); see also Gomez v. Jefferson Cnty. Police Dep’t, 7 F. Supp. 2d 876, 883 (W.D. Ky.

1996). Second, because official-capacity claims “generally represent only another way of pleading

an action against an entity of which an officer is an agent,” where plaintiffs plead both, this Court

“dismiss[es] the official capacity claims.” Scott v. Louisville/Jefferson Cnty. Metro Gov’t, 503 F.

Supp. 3d 532, 541 (W.D. Ky. 2020) (quotation marks omitted). Finally, it is well-established that

“the Eighth Amendment right against ‘cruel and unusual punishments’ . . . kicks in only after a


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conviction.” Lawler v. Hardeman Cnty., Tennessee, 93 F.4th 919, 926 (6th Cir. 2024) (citing Bell

v. Wolfish, 441 U.S. 520, 535 n.16 (1979)).

        Furthermore, “when a plaintiff files an opposition to a dispositive motion and addresses

only certain arguments raised by the defendant, a court may treat those arguments that the plaintiff

failed to address as conceded.” Degolia v. Kenton Cnty., 381 F. Supp. 3d 740, 759–60 (E.D. Ky.

2019) (quotation marks omitted); see also Notredan, L.L.C. v. Old Republic Exch. Facilitator Co.,

531 F. App’x. 567, 569 (6th Cir. 2013) (recognizing that the plaintiff had waived claim by failing

to respond to or refute arguments made by the defendants in the district court); Allstate Ins. v.

Global Med. Billing, Inc., 520 F. App’x. 409, 412 (6th Cir. 2013) (same); Doe v. Bredesen, 507

F.3d 998, 1007–08 (6th Cir. 2007) (affirming the district court’s conclusion that the plaintiff

abandoned certain claims by failing to raise them in his brief opposing the government’s motion

to dismiss); Mekani v. Homecomings Fin., LLC, 752 F. Supp. 2d 785, 797 (E.D. Mich. 2010)

(noting that it is well settled law that a plaintiff waives a claim by failing to respond to or refute

arguments made by the defendant in a motion to dismiss and “the Court assumes he concedes this

point and abandons the claim.”). The Fentresses have conceded these three arguments, and on

these points, the motion for partial dismissal is granted.

    B. Punitive Damages

        Leitchfield, Jennings, and Jupin argue that Kentucky’s Claims Against Local Governments

Act (“CALGA”), Ky. Rev. Stat. § 65.200 et seq., “expressly bars awards of punitive damages

against cities and municipalities” such as Leitchfield.3 [DE 17 at 81]. “The protections afforded by

CALGA allow public employees to diligently and faithfully serve the Commonwealth without

worrying about the financial burdens and other adverse consequences of civil litigation, which


3
 The movants have filed certain legal authorities as exhibits. [DE 17-1; DE 23-1]. Because those authorities
are electronically available, filing them in the record was unnecessary. See LR 7.1(h).


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may stem from their civil service.” Richardson v. Louisville/Jefferson Cnty. Metro Gov’t, 260

S.W.3d 777, 781 (Ky. 2008). The Act provides in relevant part:

       The amount of damages recoverable against a local government for death, personal
       injury or property damages arising out of a single accident or occurrence, or
       sequence of accidents or occurrences, shall not exceed the total damages suffered
       by plaintiff, reduced by the percentage of fault including contributory fault,
       attributed by the trier of fact to other parties, if any.

Ky. Rev. Stat. § 65.2002. Kentucky courts “have interpreted th[is] statute to generally prohibit

recovering punitive damages from a municipality.” Schell v. Young, 640 S.W.3d 24, 44 (Ky. App.

2021) (citing Louisville Metro Housing Auth. v. Burns, 198 S.W.3d 147, 150–51 (Ky. App. 2005));

see also Schwindel v. Meade Cnty., 113 S.W.3d 159, 165 (Ky. 2003).

       The Fentresses do not dispute that § 65.2002 precludes an award of punitive damages

against Leitchfield. Instead, they argue that Kentucky’s “jural rights” and “separation of powers”

doctrines render CALGA unconstitutional. [DE 21 at 113–15]. “The jural rights doctrine precludes

any legislation that impairs a right of action in negligence that was recognized at common law

prior to the adoption of the Commonwealth’s Constitution in 1891.” Waugh v. Parker, 584 S.W.3d

748, 754 (Ky. 2019) (citing Ky. Const. §§ 14, 54, 241). Under the separation of powers doctrine,

“the legislative function cannot be so exercised as to interfere unreasonably with the functioning

of the courts.” Arkk Props., LLC v. Cameron, 681 S.W.3d 133, 140 (Ky. 2023) (quoting Ex parte

Auditor of Pub. Accts., 609 S.W.2d 682, 688 (Ky. 1980); accord Ky. Const. §§ 27–28.

       This Court will not question the constitutionality of state legislation where such questions

can be avoided. See Northland Fam. Plan. Clinic, Inc. v. Cox, 487 F.3d 323, 339 (6th Cir. 2007);

see also McKesson v. Doe, 592 U.S. 1, 6 (2020) (per curiam) (quoting Arizonans for Off. Eng. v.

Arizona, 520 U.S. 43, 79 (1997)). CALGA’s prohibition against punitive damages was enacted 37

years ago and has remained good law since then. See 1988 Ky. Acts ch. 224; see also Louisville &

Jefferson Cnty. Metro. Sewer Dist. v. Albright, ___ S.W.3d ___, 2025 WL 890812, at *10 (Ky.


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Mar. 20, 2025) (to be published). Furthermore, the Kentucky Court of Appeals has rejected both

challenges that the Fentresses raise here. See Williams v. City of Glasgow, No. 2017-CA-001246-

MR, 2018 WL 3794739, at *6 (Ky. App. Aug. 10, 2018). Particularly in light of Williams, it is

presumed that CALGA conforms with the Kentucky Constitution. See Cohen v. Beneficial Indus.

Loan Corp., 337 U.S. 541, 547 (1949). Because CALGA prohibits an award of punitive damages

against Leitchfield, on this point, the motion for partial dismissal is granted.

                                          IV. CONCLUSION

         For all these reasons, and the Court being otherwise sufficiently advised, IT IS

ORDERED that the motion for partial dismissal [DE 17] is GRANTED:

         •      The Leitchfield Police Department is DISMISSED;

         •      All official-capacity claims against Jennings and Jupin are DISMISSED;

         •      The Fentresses’ Section 1983 claim, to the extent it relies on the Eighth Amendment’s

                prohibition against cruel and unusual punishment, is DISMISSED; and

         •      The Fentresses’ request for punitive damages, to the extent it is asserted against

                Leitchfield, is DISMISSED.

         Leitchfield, Jennings, and Jupin SHALL answer the complaint within fourteen (14) days

of this order’s entry. See Fed. R. Civ. P. 12(a)(4). Additionally, the parties SHALL NOT

inappropriately filing discovery papers, Fed. R. Civ. P. 5(d)(1)(A), or electronically available legal

authorities, LR 7.1(h), going forward in this case.




 May 29, 2025




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